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               IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF NEW YORK
__________________________________________
                                           )
EQUAL EMPLOYMENT OPPORTUNITY               )
COMMISSION,                                )  Case No. 1:15-cv-04141-MKB-CLP
                                           )
                   Plaintiff,              )      NOTICE OF MOTION
                                           )      TO STRIKE CERTAIN
            v.                             )    AFFIRMATIVE DEFENSES
                                           )    PURSUANT TO RULE 12(f)
UNITED PARCEL SERVICE, INC.                )
                                           )
                   Defendant.              )
_________________________________________ )


       Plaintiff Equal Employment Opportunity Commission (“EEOC”) hereby moves for an

order striking certain affirmative defenses pursuant to Federal Rule of Civil Procedure 12(f).

Specifically, the EEOC moves to strike Defendant’s Fourth (failure to conciliate), Fifth (waiver

and estoppel), Sixth (laches and unclean hands), Twelfth (statute of limitations), Fifteenth

(failure to exhaust administrative procedures), Twenty-Second (precluding claims outside scope

of charges), and Twenty-Third (failure to make prompt determinations) Affirmative Defenses.

Each of the asserted defenses is insufficient as a matter of law, and failure to strike the defenses

would unnecessarily delay this action and prejudice the EEOC by requiring it to undergo lengthy

and burdensome discovery on unavailable or insupportable defenses. The EEOC therefore

respectfully requests that the Court strike the above-referenced defenses from Defendant’s

Answer for the reasons set forth in the accompanying Memorandum of Law.

       The return date will be set by the Court.



Dated: September 16, 2016                             Respectfully submitted,

                                                      /s/Elizabeth Fox-Solomon
                                                      Elizabeth Fox-Solomon
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                                CERTIFICATE OF SERVICE

       I, Elizabeth Fox-Solomon, hereby certify that on September 16, 2016, the foregoing

document was filed with the Clerk of the Court and served in accordance with the Federal Rules

of Civil Procedures, and/or the Eastern District’s Local Rules, and/or the Eastern District’s Rules

on Electronic Service upon the following parties and participants:


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